Case 2:23-cv-02802-WBS-CKD Document 1-7 Filed 12/04/23 Page 1 of 3




           EXHIBIT G
From:                 Case 2:23-cv-02802-WBS-CKD
                              Scott Love         Document 1-7 Filed 12/04/23 Page 2 of 3
Sent:                          Wednesday, February 22, 2023 7:24 PM
To:                            'Melissa Moreno'
Subject:                       RE: Banning books

Between us, this has been quite the awakening to us. I know Freedom of Speech cuts two ways, but we are none too happy
about this. I have given them clear communication on them saying it is not our program, that they cannot ask attendees for
their contact information, and they cannot sell books at the event. Gloria Partida and her Phoenix Coalition will be here tabling
outside and attending the event, and I will be there to make sure they follow our rules. We have alerted all the elected officials
and the City Manager and Police Chief, in case we need to call for assistance. I’ve also told the group that if they take questions
or feedback from the attendees, that they need to respect all voices and call on people equally.

I’m sharing this all with just you, as Kirt Cameron and Brave Books is known to be litigious, so we’re being careful. Being Black
History Month, I made a display outside the meeting room on Black Queer Trailblazers, and we’re creating a trans Bibliography
and bookmark to be giving out in the library.


Scott Love
Library Regional Manager – West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
                 , Davis CA 95616
               office
               cell


Achiever | Ideation | Communication | Connectedness | Arranger


“We Acknowledge that we are on the traditional territory and homelands of the Yocha Dehe Wintun Nation.” For more
information, please visit https://www.yochadehe.org/.


From: Melissa Moreno <                            >
Sent: Wednesday, February 22, 2023 1:34 PM
To: Scott Love <                         >; Lana Harman <                                     >
Cc: NJ Mvondo <                      >
Subject: Fwd: Banning books

Good afternoon Scott, Lana and NJ,

A parent just sent me this flyer. They were upset that the Library is "hosting" Mom's for Liberty and seems like they are
contacting others.

Are you aware of this event and possible response?

Take care, be well.

Sent from my iPhone




                                                                                                    Exhibit G, Page 1
Sent from my iPhone
                 Case 2:23-cv-02802-WBS-CKD Document 1-7 Filed 12/04/23 Page 3 of 3


--
Melissa Moreno, Ph.D.

We should take a moment to acknowledge the land on which we are gathered. For thousands of years, this land has
been the home of Patwin people. Today, there are three federally recognized Patwin tribes: Cachil DeHe Band of
Wintun Indians of the Colusa Indian Community, Kletsel Dehe Wintun Nation, and Yocha Dehe Wintun Nation.The
Patwin people have remained committed to the stewardship of this land over many centuries. It has been cherished
and protected, as elders have instructed the young through generations. We are honored and grateful to be here
today on their traditional lands.
Approved by Cachil DeHe Band of Wintun Indians of the Colusa Indian Community, Kletsel Dehe Wintun Nation, and Yocha Dehe Wintun Nation.


[THIS EMAIL ORIGINATED FROM OUTSIDE YOLO COUNTY. PLEASE USE CAUTION AND VALIDATE THE AUTHENTICITY OF THE
EMAIL PRIOR TO CLICKING ANY LINKS OR PROVIDING ANY INFORMATION. IF YOU ARE UNSURE, PLEASE CONTACT THE HELPDESK
(x5000) FOR ASSISTANCE]




                                                                                                                Exhibit G, Page 2
